Case 1:21-cv-01125-NGG-CLP Document 11 Filed 04/16/21 Page 1 of 2 PageID #: 74




                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK

  ILUMINADA ORTEGA,

                              Plaintiff,
                  v.

   CHAMPAGNE ROOM BK, INC d/b/a DRAFT                            21-cv-01125 (NGG-CLP)
   BARN d/b/a END ZONE SPORTS BAR &
   LOUNGE; BROOKLYN DRAFT AND GRILL
   INC d/b/a DRAFT BARN d/b/a END ZONE
   SPORTS BAR & LOUNGE; ELITE HOLDINGS
   AND MANAGEMENT, INC d/b/a ADRENALINE
   BAR & LOUNGE d/b/a DRAFT BRN, d/b/a END
   ZONE SPORTS BAR & LOUNGE; RUBEN
   YEGHOYAN;
   YEVGENIY TROFIMCHUK; and DIMITRI
   YAGUDAEV; Individually,


                            Defendants.

                            WITHDRAWAL OF COUNTERCLAIM

 In order to avoid unnecessary litigation at the early stage of this case, Defendant Ruben Yeghoyan,

 (hereinafter “YEGHOYAN” or “Defendant”) by and through his counsel, The Fast Law Firm, P.C.

 hereby withdraws Counterclaim One without prejudice with the likelihood of renewal post

 discovery.



 Respectfully Submitted,

 /s/ Elena Fast
 Elena Fast, Esq.
 Counsel for Ruben Yeghoyan
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                                                 1
Case 1:21-cv-01125-NGG-CLP Document 11 Filed 04/16/21 Page 2 of 2 PageID #: 75




                                   CERTIFICATE OF SERVICE
 I hereby certify that on April 16, 2021 I served a true and correct copy of the foregoing Withdrawal
 of Counterclaim via electronic filing with the Court’s ECF system for notice to all counsel of
 record.

 /s/ Elena Fast
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